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 4
                               UNITED STATES DISTRICT COURT
 5                            WESTERN DISTRICT OF WASHINGTON
                                        AT TACOMA
 6
      JIMMY DERRICK BIZZELL,
 7                                                       No. 3:20-CV-5679-RSM-DWC
 8                                 Plaintiff,
             v.                                          ORDER ADOPTING REPORT AND
 9                                                       RECOMMENDATION
      SARAH JANE TOFFLEMIRE, et al.,
10
                                   Defendants.
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            The Court, having reviewed the Report and Recommendation of Magistrate Judge David
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     W. Christel, objections to the Report and Recommendation, if any, and the remaining record,
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     does hereby find and ORDER:
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16          (1)    The Court adopts the Report and Recommendation.

17          (2)    The case is dismissed without prejudice. Plaintiff’s Application to Proceed In
                   Forma Pauperis (Dkt. 1) is denied as moot.
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            (3)    The Clerk is directed to send copies of this Order to Plaintiff, counsel for
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                   Defendants, and to the Hon. David W. Christel.
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21          DATED this 19th day of October, 2020.
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                                                  RICARDO S. MARTINEZ
25                                                CHIEF UNITED STATES DISTRICT JUDGE
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     ORDER ADOPTING REPORT AND RECOMMENDATION- 1
